            Case 7:19-cr-00260-DC Document 14 Filed 12/04/19 Page 1 of 1


                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                   MIDLAND-ODESSA DIVISION

United States of America                               §
                                                       §
vs.                                                    §         NO: MO:19-M -00398(1)
                                                       §
(1) John Gene Mitchell                                 §

                    ORDER APPROVING WAIVER OF DEFENDANT'S RIGHT
                   TO A DETENTION HEARING SUBJECT TO RESERVATION
                               OF DEFENDANT'S RIGHTS

        On this day the Court considered the Defendant's waiver of detention hearing. The.Defendant

agreed that he/she would waive his/her right to a bond/detention hearing and not to contest the

Government's Motion for Detention, as long his/her right to a later hearing on the matter was preserved.

        The Court finds that the Waiver is well taken and executed as evidenced by the Defendant's

signature appearing on the waiver. The Government's Motion for Detention is GRANTED along with the

Defendant's reservation of right to a hearing at a later date.

        It is ORDERED that the Defendant:

        (1) Be committed to the custody of the Attorney General for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody
pending appeal during the time he/she awaits trial;

         (2) The Defendant be afforded opportunity for private consultation with his/her counsel during
this period in detention;

        (3) That the facility where the Defendant will be placed shall make the Defendant available to
the United States Marshals Service for any appearance in connection with a Court proceeding in this
matter; and,

        IT IS SO ORDERED.

        Signed this 4th day of December, 2019.


                                                           ______________________________
                                                           RONALD C. GRIFFIN
                                                           UNITED STATES MAGISTRATE JUDGE
